                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:17-CR-263-MOC-DCK-1

 UNITED STATES OF AMERICA,                              )
                                                        )
                 Plaintiff,                             )
                                                        )
    v.                                                  )       ORDER
                                                        )
 CLARENCE ROBERT BROWN, JR.,                            )
                                                        )
                 Defendant.                             )
                                                        )

         THIS MATTER IS BEFORE THE COURT on the Government’s “Motion To Seal

Government’s Exhibit 1 To Government’s Response In Opposition To Defendant’s Motion For

Compassionate Release” (Document No. 34) filed on November 2, 2021. This motion has been

referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate

review is appropriate. Having carefully considered the motion and the record, the undersigned

will grant the motion.

         A party who seeks to seal any pleading must comply with the Local Rules of this Court.

Local Civil Rule (“LCvR”) 6.1 provides in relevant part as follows:

         LCvR. 6.1       SEALED FILINGS AND PUBLIC ACCESS.

                (a)     Scope of Rule. To further openness in civil case
                proceedings, there is a presumption under applicable common law
                and the First Amendment that materials filed in this Court will be
                filed unsealed. This Rule governs any party’s request to seal, or
                otherwise restrict public access to, any materials filed with the Court
                or used in connection with judicial decision- making. As used in this
                Rule, “materials” includes pleadings and documents of any nature
                and in any medium or format.

                (b)    Filing under Seal. No materials may be filed under seal
                except by Court order, pursuant to a statute, or in accordance with a
                previously entered Rule 26(e) protective order.




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               (c)     Motion to Seal or Otherwise Restrict Public Access. A
               party’s request to file materials under seal must be made by formal
               motion, separate from the motion or other pleading sought to be
               sealed, pursuant to LCvR 7.1. Such motion must be filed
               electronically under the designation “Motion to Seal.” The motion
               must set forth:

                      (1)     A non-confidential description of the
                      material sought to be sealed;
                      (2)     A statement indicating why sealing is
                      necessary and why there are no alternatives to filing
                      under seal;
                      (3)     Unless permanent sealing is sought, a
                      statement indicating how long the party seeks to have
                      the material maintained under seal and how the
                      matter is to be handled upon unsealing; and
                      (4)     Supporting statutes, case law, or other
                      authority.
LCvR 6.1.

       By the instant motion, the Government seeks to file Exhibit 1 to the Government’s

Response in Opposition to Defendant’s Motion for Compassionate Release (Document No. 33)

under seal. (Document No. 34). Defendant contends that this filing “contains personal information

about Defendant in the form of his medical records from the Federal Bureau of Prisons.” Id. The

undersigned agrees that such material should be sealed.

       Having considered LCvR 6.1(c) and LCrR 49.1.1, and the record of this case, the Court

will allow the Government’s motion. Noting that the time for public response has not run to this

motion, the Court will consider any objection to this Order from non-parties as an objection to the

motion, requiring no additional burden for any non-party under the Federal Rules of Civil

Procedure. See LCvR 6.1(e).

       IT IS, THEREFORE, ORDERED that the Government’s “Motion To Seal

Government’s Exhibit 1 To Government’s Response In Opposition To Defendant’s Motion For

Compassionate Release” (Document No. 34) is GRANTED. Document No. 33 shall be SEALED


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and remain under SEAL until otherwise ordered by this Court.

       SO ORDERED.
                                       Signed: November 2, 2021




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